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                                IN THE UNITED STATES DISTRICT COURT
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                           FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                  )   Case No: 2:13-CR-0312-KJM
                                                )
12                 Plaintiff,                   )
                                                )   REQUEST TO CONTINUE BRIEFING SCHEDULE
13   vs.                                        )   FOR THE MOTION FOR COMPASSIONATE
                                                )   RELEASE PURSUANT TO
14   CURTIS DUANE SANDERS,                      )   18 U.S.C. § 3582(c)(1)(A)
                                                )
15                 Defendant.                   )
                                                )
16                                              )
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            Defendant CURTIS SANDERS filed a pro se Motion for Compassionate Release while
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     he was incarcerated in the BOP transfer facility in Oklahoma City. The matter was referred to
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     the Office of the Federal Defender. Mr. Sanders has since been transferred to his designated
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     facility, and assigned counsel has recently been able to contact him there. Defense counsel
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     requires additional time to obtain records and investigate a release plan. Defense counsel
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     requests that any amended or supplemental motion be due August 26, 2020, so that it may
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     adequately be prepared and supported.
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            Accordingly, IT IS HEREBY STIPULATED by and between the parties hereto through
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     their respective counsel, JASON HITT, Assistant United States Attorney, attorney for Plaintiff,
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     and RACHELLE BARBOUR, attorney for Defendant, CURTIS DUANE SANDERS, that the
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     briefing schedule for the motion for compassionate release pursuant to 18 U.S.C.
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     §3582(c)(1)(A) be continued as follows:
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            Defendant’s amended motion previously due on July 28, 2020 to be continued to August
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     26, 2020. Government’s opposition be continued to September 16, 2020.
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            This continuance is requested to allow the defense counsel additional time to gather
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     records and prepare a release plan for the defendant to attach to an amended motion.
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     DATED: August 3, 2020                          HEATHER E. WILLIAMS
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                                                    Federal Defender
7                                                   /s/ Rachelle Barbour
8                                                   RACHELLE BARBOUR
                                                    Attorney for Defendant
9                                                   CURTIS DUANE SANDERS

10   DATED: August 3, 2020                          McGREGOR W. SCOTT
                                                    United States Attorney
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12                                                  /s/ Rachelle Barbour for
                                                    JASON HITT
13                                                  Assistant U.S. Attorney
                                                    Attorney for Plaintiff
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                                                ORDER
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17          The court, having received, read, and considered the stipulation of the parties, and good

18   cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order.

19   It is ordered that the briefing schedule for the motion for compassionate release pursuant to 18

20   U.S.C. § 3582(c)(1)(A) shall be continued. Deadline for defendant’s amended motion is now

21   August 26, 2020 and for the government’s opposition is September 16, 2020.

22          This order resolves ECF No. 140.

23   DATED: August 4, 2020.

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